Case 1:17-cv-12188-TLL-PTM ECF No. 29 filed 12/15/17   PageID.290   Page 1 of 11



                    UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF MICHIGAN
                         SOUTHERN DIVISION

LOABAT AMIRI, et al.,

            Plaintiffs,                  Civil No. 17-12188
                                         Hon. Thomas L. Ludington
v.                                       Mag. Judge Patricia T. Morris

ELAINE C. DUKE, et al.,

          Defendants.
____________________________________/

 DEFENDANTS’ REPLY IN SUPPORT OF THEIR MOTION TO DISMISS
Case 1:17-cv-12188-TLL-PTM ECF No. 29 filed 12/15/17                               PageID.291          Page 2 of 11




                                     TABLE OF AUTHORITIES
Abdullah v. INS,
 184 F.3d 158 (2d Cir. 1999) ....................................................................................3

Almario v. Att’y Gen.,
 872 F.2d 147 (6th Cir. 1989)...................................................................................5

Bangura v. Hansen,
 434 F.3d 487 (6th Cir. 2006)...................................................................................5

Beauvais v. Cox,
 08-11881, 2008 WL 4965360 (E.D. Mich. Nov. 18, 2008)....................................7

Bell Atl. Corp. v. Twombly,
 550 U.S. 544 (2007) ................................................................................................7

Bruno v. Albright,
 197 F.3d 1153 (D.C. Cir. 1999) ..............................................................................2

Cherri v. Mueller,
 951 F. Supp. 2d 918 (E.D. Mich. 2013) ..................................................................4

Clapper v. Amnesty Intern. USA,
 568 U.S. 398 (2013) ................................................................................................6

Conley v. Gibson,
 355 U.S. 41 (1957) ..................................................................................................7

Cutshall v. Sundquist,
 193 F.3d 466 (6th Cir. 1999)...................................................................................7

Doe v. Michigan Dep’t of State Police,
 490 F.3d 491 (6th Cir. 2007)...................................................................................6

Gegiow v. Uhl,
 239 U.S. 3 (1915) ....................................................................................................5



                                                           i
Case 1:17-cv-12188-TLL-PTM ECF No. 29 filed 12/15/17                              PageID.292         Page 3 of 11



Hazama v. Tillerson,
 851 F.3d 706 (7th Cir. 2017).......................................................................... 2, 3, 4

Kerry v. Din,
 135 S.Ct. 2128 (2015) ............................................................................... 2, Passim

Khanom v. Kerry,
 37 F. Supp. 3d 567 (E.D.N.Y. 2014) ......................................................................3

Lihua Xu v. U.S. Dep’t of State,
  No. 2:08-cv-1023, 2010 WL 3942723 (S.D. Ohio Oct. 6, 2010) ...........................2

Mandel v. Kleindienst,
 408 U.S. 753 (1972) ................................................................................................4

Olsen v. Albright,
 990 F. Supp. 31 (D.D.C. 1997) ...............................................................................3

Patel v. INS,
 811 F.2d 377 (7th Cir. 1987)...................................................................................3

Paul v. Davis,
 424 U.S. 693 (1976) ................................................................................................6

Tarhuni v. Holder,
 8 F. Supp. 3d 1253 (D. Or. 2014) ...........................................................................6

United States v. Slocum,
 464 F.2d 1180 (3d Cir. 1972) ..................................................................................3

Van Atta v. Defense Intelligence Agency,
 Case No. 87-1508, 1988 WL 73856 (D.D.C. July 6, 1998) ...................................7

                                                 STATUTES
8 U.S.C. § 1182(a)(3)(B) ...........................................................................................2




                                                          ii
Case 1:17-cv-12188-TLL-PTM ECF No. 29 filed 12/15/17        PageID.293     Page 4 of 11




      In their response, Plaintiffs clarify that they are not challenging the authority

of Defendants to maintain records. See Dkt. 26 at 31-32. Rather they are only

challenging the use of those records to “deny immigration benefits.” Id.1 And the

only “immigration benefit[]” referenced in the Amended Complaint is the denial of

a visa to Plaintiff Latif.2 Thus, as a threshold matter, the Department of Homeland

Security (“DHS”) and its sub-agencies should be dismissed from this litigation. In

addition, Defendants wish to focus on three issues: (i) Plaintiffs’ failure to show

why their claims regarding the denial of a visa to Mr. Latif are not barred by the

doctrine of consular nonreviewability, (ii) Plaintiffs’ failure to demonstrate

standing, and (iii) Plaintiff’s failure to show a reputational injury under the Due

Process Clause.

      (i) Consular Nonreviewability - As set forth in Defendants’ motion to

dismiss, Plaintiffs’ claims are barred by the doctrine of consular nonreviewability



1
  Specifically, Plaintiffs explained that they “are not stating that the Defendants
are not allowed to keep records on individuals; rather the Plaintiffs argue that those
records cannot be used in a discriminatory manner to deny immigration benefits.”
See Dkt. 26 at 31-32. In addition, Plaintiffs withdraw their Sixth Amendment
claim. See Dkt. 26 at 31. Thus, the Government will not address this claim here.
2
  Defendants note that Plaintiffs’ response does reference a paragraph in the
Second Amended Complaint alleging that a TECs record was created for Dr. Amiri
in November 2010. See Dkt. 26 at 10 citing Dkt. 19 at ¶ 43. But Dr. Amiri does
not appear to be seeking any relief with respect to this TECs record or alleging that
she suffered a loss of a benefit as a result of this record.
Case 1:17-cv-12188-TLL-PTM ECF No. 29 filed 12/15/17        PageID.294    Page 5 of 11



and Kerry v. Din, 135 S.Ct. 2128 (2015). See Dkt. 20 at 11, 16-19. Plaintiffs offer

three reasons why Din does not apply. These arguments are without merit.

      First, Plaintiffs argue that the present case is distinguishable from Din,

because the present case involves a denial under 8 U.S.C. § 1182(a)(3)(B). See

Dkt. 26 at 13, 17, 19, 21-23. But Din involved the same statutory provision:

8 U.S.C. § 1182(a)(3)(B). See Din, 135 S.Ct. at 2141; see, e.g., Hazama v.

Tillerson, 851 F.3d 706, 709 (7th Cir. 2017) (also applying this provision). And

the Court was emphatic in rejecting the very argument Plaintiffs now make. See

Din, 135 S.Ct. at 2141 (Kennedy, J., concurring) (recognizing that there is no

requirement to “to point to a more specific provision within § 1182(a)(3)(B)”).3

Thus, the Supreme Court has already addressed this argument.4

      Second, Plaintiffs argue that they are entitled to judicial review because they

are Muslims and they allege, without any factual support, that the Government acts




3
  Plaintiffs rely on Justice Breyer’s dissent in that case. See Dkt. 26 at 20. But the
citation to the dissent simply underscores that the Court considered the argument
that Plaintiffs are making and rejected it.
4
   To be clear, the Administrative Procedure Act does not provide an independent
right to seek judicial review of the decision by a consular officer to grant or deny a
visa. Khanom v. Kerry, 37 F. Supp. 3d 567, 575 (E.D.N.Y. 2014); see, e.g., Bruno
v. Albright, 197 F.3d 1153, 1162 (D.C. Cir. 1999); Lihua Xu v. U.S. Dep’t of State,
No. 2:08-cv-1023, 2010 WL 3942723, *4 (S.D. Ohio Oct. 6, 2010).


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Case 1:17-cv-12188-TLL-PTM ECF No. 29 filed 12/15/17          PageID.295    Page 6 of 11



in bad faith towards Muslims. See Dkt. 26 at 24-26.5 But this type of unsupported

claim is not sufficient. See Din, 135 S.Ct. at 2141 (Kennedy, J., concurring); see,

e.g., Hazama, 851 F.3d 706, 709. As Justice Kennedy explained in Din, once the

consular officer provides a facially legitimate reason for the visa refusal, the

plaintiff has the burden of proving that the reason was not bona fide by making an

“affirmative showing of bad faith on the part of the consular officer who denied []

visa” that is “plausibly alleged with sufficient particularity.” Din, 135 S.Ct. at

2141.6 Simply alleging that an applicant is Muslim is insufficient.


5
   Plaintiffs do cite a number of cases in this section of their response, but none of
these cases indicate bad faith towards Muslims. See Dkt. 26 at 24-25 citing Olsen
v. Albright, 990 F. Supp. 31, 33 (D.D.C. 1997) (addressing allegations that officials
in the consulate in Brazil were making notations regarding applicants based on
their class and ethnicity); Patel v. INS, 811 F.2d 377, 382-83 (7th Cir. 1987)
(holding that the Board of Immigration Appeals did not abuse its discretion in
denying Mr. Patel’s application for adjustment of status); United States v. Slocum,
464 F.2d 1180, 1884 (3d Cir. 1972) (upholding a criminal conviction finding that
the search of a defendant’s luggage was not based on profiling). It is true that in
Abdullah v. INS there was a finding by the district court that the former
immigration officials engaged in discrimination against Indian and Pakistani
applicants. See 921 F. Supp. 1080, 1093-94 (S.D.N.Y. 1996). But this ruling was
reversed on appeal because the evidence of discrimination was insufficient.
Abdullah v. INS, 184 F.3d 158, 166 (2d Cir. 1999) cert. denied 120 S. Ct. 1670
(2000). In sum, none of these cases in any way suggest that consular officers
located in the United Kingdom currently discriminate against Muslims in
adjudicating visas. Moreover, allowing Muslims, but not non-Muslims, to seek
judicial review of the decision by a consular officer to deny a visa would itself
raise serious constitutional and statutory concerns.
6
  Plaintiffs incorrectly state that “Defendants concede . . . [that] limited judicial
review” is available in cases of bad faith. See Dkt. 26 at 17. But Defendants’

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Case 1:17-cv-12188-TLL-PTM ECF No. 29 filed 12/15/17       PageID.296    Page 7 of 11



      Third, Plaintiffs argue that the doctrine of consular nonreviewability does

not apply because the consular officer purportedly relied on information from other

agencies. See Dkt. 26 at 13-15. But there is no authority for this proposition or for

the argument that it is inappropriate for a consular officer to view information from

other agencies prior to making visa determinations. See Din, 135 S.Ct. at 2141

(Kennedy, J., concurring).

      (ii) Standing - Defendants argued at length that, in any event, Mr. Latif

could not challenge the denial of his visa application because as a non-resident,

unadmitted alien he has no constitutional right to entry to this country. See Dkt. 20

at 17-19, 25-26 citing inter alia Mandel v. Kleindienst, 408 U.S. 753, 762 (1972);

Hazama, 851 F.3d at 708 (“[U]nadmitted, nonresident aliens have no free-standing

constitutional right to enter the United States”).



position is that the plurality opinion in Din is the better view and there is no
judicial review. See Dkt. 20 at 18-19; see also id., at 25-26, 26 n.13. To the extent
that there is any review, such review is limited to those circumstances in which
there is an “affirmative showing of bad faith.” Din, 135 S.Ct. at 2141 (Kennedy,
J., concurring).

Plaintiffs also argue that, notwithstanding Din, they are entitled to discovery to
establish bad faith. Dkt. 26 at 26 citing Cherri v. Mueller, 951 F. Supp. 2d 918
(E.D. Mich. 2013). But Cherri, which pre-dates Din, has nothing do with the
doctrine of consular nonreviewabiliy. Rather, Cherri involves claims by U.S.
citizens asserting constitutional and other claims regarding a purported FBI policy
or practice. See 951 F. Supp. 2d at 922-23 (dismissing claims under the First
Amendment, but finding plaintiffs stated a claim under the Fifth Amendment).


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Case 1:17-cv-12188-TLL-PTM ECF No. 29 filed 12/15/17         PageID.297     Page 8 of 11



      In response, Plaintiffs argue that Mr. Latif was “definitely affected” by the

denial of a visa and, thus, he has standing to challenge the denial. See Dkt. 26 at

27-30. But, no one disputes that Mr. Latif was affected by the consular officer’s

decision. The argument was that, under Supreme Court precedent, he lacks a

protected constitutional interest that would allow him to sue in U.S. courts. Dkt.

20 at 25-26. Plaintiffs’ response does not address this argument.7

      Similarly, Defendants argued that Dr. Amiri lacks standing to challenge the

denial of a visa to her husband. See Dkt. 20 at 18-19, 26. Under Sixth Circuit law,

although a couple has “a fundamental right to marry[,] . . . [a] denial of an

immediate relative visa does not infringe upon their right to marry.” See Bangura

v. Hansen, 434 F.3d 487, 496 (6th Cir. 2006).8 In their response, Plaintiffs do not

address this authority. See Dkt. 26 at 28. Instead, they point to authorities

recognizing that, as a general matter, there is a constitutional right to a marital

relationship. See id. This is simply non-responsive to Defendants’ argument.




7
  For the sake of completeness, Defendants note that, in addressing standing,
Plaintiffs do cite a decision by Oliver Wendell Holmes, Gegiow v. Uhl, 239 U.S. 3,
9-10 (1915). See Dkt. 26 at 27. But this case stands for the proposition that an
alien in detention can challenge his detention through a writ of habeas corpus.
Here, Mr. Latif is not in detention so this proposition is not applicable.
8
  See, e.g., Almario v. Att’y Gen., 872 F.2d 147, 151 (6th Cir. 1989) (“[T]he
Constitution does not recognize the right of a citizen spouse to have his or her alien
spouse remain in this country. . .”).
                                           5
Case 1:17-cv-12188-TLL-PTM ECF No. 29 filed 12/15/17        PageID.298       Page 9 of 11



      (iii) Reputational Harm - Assuming arguendo that Mr. Latif has a

constitutionally protected interest, neither Mr. Latif nor Dr. Amiri state a claim

under the “stigma-plus” standard. See Doe v. Michigan Dep’t of State Police, 490

F.3d 491, 501-2 (6th Cir. 2007) citing Paul v. Davis, 424 U.S. 693, 711 (1976)

(requiring that a plaintiff demonstrate that (i) he suffered a stigma from

governmental action, plus (ii) he experienced an alteration or extinguishment of a

right or status previously recognized by law).

      Mr. Latif’s and Dr. Amiri’s potential claim fails because they do not allege

any facts demonstrating either prong. To the contrary, in their response, Plaintiffs

appear to concede the implications of a record in “some database” regarding them

is “unknown.” Dkt. 26 at 28.9 Without more, alleging “unknown implications” is

insufficient to show stigmatization. See Tarhuni v. Holder, 8 F. Supp. 3d 1253,

1275 (D. Or. 2014) (holding that an instruction to an airline does “not constitute



9
  They also allege that it is “more likely than not” that the Government “shared
derogatory information with British officials” about Mr. Latif. Dkt. 26 at 29. But
this type of speculation is insufficient to establish standing. See Clapper v.
Amnesty Intern. USA, 568 U.S. 398, 408-409, 411 (2013). Plaintiffs do not (i)
allege any facts to support this conjecture, (ii) allege any facts demonstrating an
injury-in-fact traceable to this alleged sharing of information, or (iii) demonstrate
that this alleged injury can be redressed by this Court. See id. at 410-11, 412-13,
414. Moreover, the Government’s decision to “share information with a foreign
power does not open that information to public scrutiny or undermine the reasons
for nondisclosure.” Van Atta v. Defense Intelligence Agency, Case No. 87-1508,
1988 WL 73856, *2 (D.D.C. July 6, 1998).


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Case 1:17-cv-12188-TLL-PTM ECF No. 29 filed 12/15/17         PageID.299     Page 10 of 11



 dissemination of the stigmatizing information . . .”). And even assuming Plaintiffs

 could show stigmatization, Plaintiffs failed to allege that Defendants’ conduct

 altered a right or status previously recognized by law. See Cutshall v. Sundquist,

 193 F.3d 466, 480 (6th Cir. 1999); Beauvais v. Cox, 08-11881, 2008 WL 4965360,

 *6 (E.D. Mich. Nov. 18, 2008) (dismissing for failure to state a claim because

 plaintiff failed to satisfy this prong).10

        WHEREFORE, this action should be dismissed with prejudice.

 Dated: December 15, 2017                         Respectfully submitted,

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 10
    To be clear, Conley v. Gibson is no longer the correct standard for a motion to
 dismiss. See Dkt. 26 at 11 citing 355 U.S. 41, 45-46 (1957); see Bell Atl. Corp. v.
 Twombly, 550 U.S. 544, 555, 570 (2007) (holding complaint must contain
 sufficient factual matter to “state a claim that is plausible on its face”).
                                              7
Case 1:17-cv-12188-TLL-PTM ECF No. 29 filed 12/15/17        PageID.300    Page 11 of 11



                         CERTIFICATION OF SERVICE

       I hereby certify that on December 15, 2017, I electronically filed the

 foregoing with the Clerk of Court by using the CM/ECF system, which will

 provide electronic notice and an electronic link to this document to the attorneys of

 record.


                                    By: /s/ Aaron Goldsmith
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                                           8
